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                                   2198



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at FRANKFORT
                            Electronically Filed

KELSEY LOVE                            )
                                       )
       Plaintiff                       )
                                       )
v.                                     )
                                       )
FRANKLIN COUNTY, KENTUCKY,             )
et al​.                                )    Case No​. 3
                                                      ​ :18-cv-23-GFVT
                                       )
      Defendants/                      )
      Third-Party Plaintiffs           )
                                       )
SOUTHERN HEALTH PARTNERS,              )
INC.                                   )
                                       )
      Third-Party Defendants           )


                                  ***********

       PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

      Plaintiff, Kelsey Love, moves the Court for summary judgment on her claim

that Brandi Upton violated her Fourteenth Amendment right to medical attention

for a serious medical need. Love filed contemporaneously a memorandum in support

of this motion.
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                                   2199



                                             Respectfully submitted,


                                             /s/ Aaron Bentley
                                             Aaron Bentley
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                                             Belzley, Bathurst & Bentley
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                                             Prospect, Kentucky 40059
                                             (502) 690-6054
                                             Counsel for Plaintiff


                          CERTIFICATE OF SERVICE

       I certify that, on June 29, 2020, I served the foregoing via CM/ECF, which
will send all parties of record a notice of electronic filing.

                                             /s/ Aaron Bentley
                                             Counsel for Plaintiff




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